                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:05CR9-V
                                4th Cir COA #: 09-6612

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                   ORDER
                                    )
LASHON MAURICE GAITHER,             )
                  Defendant.        )
____________________________________)

        THIS MATTER is before the Court following a limited remand from the Fourth Circuit

Court of Appeals in response to Defendant’s pro se “Notice Of Appeal,” filed April 1, 2009.

(Document #1200) This matter was remanded for the limited purpose of considering whether good

cause or excusable neglect exist such that the Fourth Circuit Court of Appeals may consider

Defendant’s otherwise untimely appeal.1

        On February 27, 2009, the Court issued an Order denying relief pursuant to 18 U.S.C. §3582.

As a registered user of the Court’s electronic case filing system (“CM/ECF”), defense counsel would

have received a notice of electronic filing immediately following issuance of the Order. However,

the Court has no way of determining with any certainty the date Defendant was actually notified of

the Court’s ruling. Ordinarily, Defendant would receive a copy of the Court’s Order via U.S. Mail,

subject to the Bureau of Prisons’s procedure for distribution of mail to prisoners in addition to

whatever means counsel elected to use to communicate with Defendant. As the appellate panel

noted, Defendant Gaither’s notice of appeal is treated as if filed March 27, 2009, after the ten-day

        1
          The Fourth Circuit explained: “Because the notice of appeal was filed within the excusable
neglect period, we remand the case to the district court for the court to determine whether Gaither has
shown excusable neglect or good cause warranting an extension of the ten-day appeal period. The record,
as supplemented, will then be returned to this court for further consideration.” In light of the factors
mentioned herein, there is no need to delay Defendant’s direct appeal by requesting that Gaither explain
why his filing was untimely.

                                                   1



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appeal period prescribed by FED. R. APP. P. 4(b)(1)(A) expired.2

        Pursuant to Rule 4(b)(4) of the Federal Rules of Appellate Procedure, “[u]pon a finding of

excusable neglect or good cause, the district court may – before or after the time has expired, with

or without motion and notice – extend the time to file a notice of appeal for a period not to exceed

30 days from the expiration of the time otherwise prescribed by this Rule 4(b).” FED. R. APP. P.

4(b)(4) (2009) (emphasis added). However, the Court may not otherwise extend the time for filing

a notice of appeal. See United States v. Reyes, 759 F.2d 351, 353 (4th Cir. 1985); United States v.

Schuchardt, 685 F.2d 901, 902 (4th Cir. 1982).

        Here, although counsel was appointed to consider eligibility for relief under Amendment 706

and 18 U.S.C. §3582, the fact that Defendant was housed out-of-district throughout weighs in favor

of finding Defendant’s filing timely.3 In other words, assuming some communication occurred

between Defendant and court-appointed counsel regarding Defendant’s desire to appeal, it’s likely

to have been via correspondence as opposed to a personal exchange with opportunity for Defendant

to ask questions.4 Moreover, the substantive legal issues and attendant advice are susceptible to

misinterpretation. For these reasons, the Court finds good cause exists to allow Defendant’s appeal

to proceed.

        IT IS, THEREFORE, ORDERED that Defendant’s pro se Notice of Appeal is deemed

timely; and




        2
         Gaither’s filing indicates that Gaither gave the document to prison officials for mailing on
March 27, 2009.
        3
           According to the Federal Bureau of Prisons’ website, Defendant is housed at FCI Loretto,
located in southwest Pennsylvania.
        4
         On March 18, 2009, the Court authorized payment to court-appointed counsel. (Document
#1199) The voucher submitted does not establish whether or not counsel discussed the possibility of
appeal with Defendant and only reflects .2 of an hour spent on interviews / conferences.

                                                    2

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       IT IS FURTHER ORDERED that the Clerk of Court forward a copy of the instant Order

to the Fourth Circuit Court of Appeals.




                                               Signed: August 27, 2009




                                               3

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